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UNITED STATES DISTRICT COURT FOR
THE EASTERN DISTRICT OF NEW YORK

AMADY CAMARA, MAMADOU
COULIBALY, BOCAR DIALLO, ABRAHAM
DIAMOLAYE, GOUMBA ABDOU
DIOKHANE, MOUHAMADOU L. FALL,
ADAMA KANE, SERIGNE KEBE, and
MAMADOU SY, individually and in behalf of
all other persons similarly situated,

                          Plaintiffs,
                                                        16 CV 5674 (DLI) (PK)
                      –against–


G&B GLAUBER BROTHERS MENS &
BOYS CLOTHING INC., GB CLOTHING
INTERNATIONAL LLC, and ABRAHAM
BIERMANS, jointly and severally,

                          Defendants.


                                  STIPULATION OF DISCONTINUANCE

           IT IS HEREBY stipulated and agreed by and between all Plaintiffs and all Defendants,

as follows:

          WHEREAS, Plaintiffs filed this action against Defendants for Defendants’

alleged violations of the Fair Labor Standards Act, 29 U.S.C. § 201 et seq and Article 190, et

seq. of the New York Labor Law, pursuant to which Plaintiff sought certain relief, including but

not limited to, compensatory and punitive damages, attorneys’ fees, expenses and costs; and

         WHEREAS, Plaintiff and Defendants have agreed to a settlement of this action; and

         WHEREAS, the aforementioned parties desire to avoid further expense, time, effort and

uncertainty in regard to this action;




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         NOW, THEREFORE, in consideration of the promises and the mutual covenants

and undertakings contained in a Stipulation of Class Action Settlement And Procedure For

Resolution and an Agreement and General Release;

         IT IS HEREBY STIPULATED, CONSENTED TO AND AGREED, that this action

is hereby discontinued with prejudice, except that the Court may retain jurisdiction to enforce the

terms of the above stated Stipulation and Agreement and Release. Each side is to bear its own

costs and fees, other than as set forth therein. The parties hereto, neither being a minor nor

incompetent, nor requiring the appointment of a guardian, freely and voluntarily enter into this

Stipulation of Discontinuance through their respective attorneys.

Dated: Mineola, New York
       April 19, 2021



Law Offices of Justin Zeller, P.C.            Meltzer Lippe Goldstein & Breitstone, LLP




By________________________                   By________________________________
John M. Gurrieri                                    Richard M. Howard


Attorneys for Plaintiffs                     Attorneys for Defendants
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Dated: April 20, 2021
       Brooklyn, NY

So Ordered

  Peggy Kuo
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U.S.M. J.



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